Case 1:20-cv-02328-LDH-CLP Document 80 Filed 03/15/22 Page 1 of 1 PageID #: 1531




      March 15, 2022

      By CM-ECF
      Hon. Cheryl L. Pollak
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

      Re: Islam et al. v. Hochul et al., 20-CV-2328(LDH)(CLP)

      Dear Judge Pollak:

              We write on behalf of all parties to request that the conference now scheduled for
      March 30, 2022 at 10:15 be adjourned as plaintiffs’ counsel is not available on that date.
      The parties have conferred twice since the last status conference and made slow and
      encouraging progress towards settlement. We now feel that the Court’s involvement could
      greatly assist in advancing a compromise. Therefore, we request that the next conference
      be held in-person or alternatively by video-call scheduled for a sufficient period of time
      that would allow for a substantive settlement conference involving break-out sessions in
      order to bring the parties closer to settlement. The parties are available any time from
      April 11-14, 2022 for this purpose. Thank you for your consideration.


      Sincerely,



      Nicole Salk
      Workers’ Rights and Benefits Unit
      Brooklyn Legal Services
      105 Court Street
      Brooklyn, N.Y. 11201
      (718) 237-5544
      NSalk@lsnyc.org



      cc: Counsel of Record (via CM/ECF)
